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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

CHARLENE SPINKS,

Plaintiff,

v. 03 CV 2568 D/P

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

 

BOBBIE J. CARR,

Plaintiff,

03 cv 2569 n/P \/

ve

HOME TECH SERVICES CO., INC.,
et al.,

Defendants.

 

ORDER SETTING DEADLINES FOR PRODUCTION OF LOAN FILES PURSUANT TO
MARCH 24, 2005 ORDER

 

On June 23, 2005, the court held a status conference with
counsel for the plaintiffs Webb Brewer and Sapna Raj, counsel for
defendants Memphis Financial Services, World Wide Mortgage
Corporation, Home Tech, the Wells, and Nina Towns (collectively
“MFS defendants”) Evan Nahmias, and counsel for NovaStar Bruce

Alexander, to discuss the status of the production of the loan

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T'n\s document entered on the dockets e
with Rula 58 and/or YQ(a) FRCP on grigg §§ §

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files at issue in this court's March 25, 2005 order granting in

part plaintiffs' motion to compel. At the conclusion. of the

conference, the court ordered as follows:

l.

By July 13, `2005, the MFS defendants shall provide the
plaintiffs and.NovaStar with identifying information.regarding
all loans ordered to be produced by the court's March 25
order.

By August lO, 2005, the MFS defendants and NoVaStar shall

produce all files in compliance with the court's March 25

U;P@a_,

TU M. PHAM
United States Magistrate Judge

order.

IT IS SO ORDERED.

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Date

 

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This notice confirms a copy of the document docketed as number 356 in
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Honorable Bernice Donald
US DISTRICT COURT

